USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 1 of 50




          EXHIBIT 6
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 2 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 3 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 4 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 5 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 6 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 7 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 8 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 9 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 10 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 11 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 12 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 13 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 14 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 15 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 16 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 17 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 18 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 19 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 20 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 21 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 22 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 23 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 24 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 25 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 26 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 27 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 28 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 29 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 30 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 31 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 32 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 33 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 34 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 35 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 36 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 37 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 38 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 39 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 40 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 41 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 42 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 43 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 44 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 45 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 46 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 47 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 48 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 49 of 50
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-42 filed 04/03/20 page 50 of 50
